 1   KELLER BENVENUTTI KIM LLP
     TOBIAS S. KELLER (SBN 151445)
 2   tkeller@kbkllp.com
     DARA L. SILVEIRA (SBN 274923)
 3   dsilveira@kbkllp.com
     650 California Street, Suite 1900
 4   San Francisco, California 94108
     Tel.: (415) 364-6793
 5   Fax. (650) 636-9251
 6   GOODWIN PROCTER LLP
     BRETT M. SCHUMAN (SBN 189247)
 7   bschuman@goodwinlaw.com
     RACHEL M. WALSH (SBN 250568)
 8   rwalsh@goodwinlaw.com
     Three Embarcadero Center
 9   San Francisco, California 94111
     Tel.: (415) 733-6000
10   Fax.: (415) 677-9041
11   HONG-AN VU (SBN 266268)
     hvu@goodwinlaw.com
12   601 S. Figueroa Street, 41st Floor
     Los Angeles, California 90017
13   Tel.: (213) 426-2500
     Fax: (213) 623-1673
14
     Attorneys for Plaintiff and Debtor and
15   Debtor in Possession Anthony S. Levandowski
16

17                              UNITED STATES BANKRUPTCY COURT

18                             NORTHERN DISTRICT OF CALIFORNIA

19                                        SAN FRANCISCO DIVISION

20   In re:                                             Bankruptcy Case
                                                        No. 20-30242 (HLB)
21   ANTHONY S. LEVANDOWSKI,                            Chapter 11
                                                        Hon. Hannah L. Blumenstiel
22                                  Debtor.             Adv. Pro. No. 20-03050 (HLB)
     ANTHONY S. LEVANDOWSKI, an                         PLAINTIFF’S NOTICE OF HEARING ON
23   individual,                                        MOTIONS FOR PARTIAL SUMMARY
24                                                      JUDGMENT
                       Plaintiff,
                                                        Date: April 1, 2021
25            v.                                        Time: 2:00 P.M.

26   UBER TECHNOLOGIES, INC.
27                     Defendant.
28

 Case: 20-03050      Doc# 130       Filed: 02/24/21   Entered: 02/24/21 04:17:09   Page 1 of 3
 1        NOTICE OF HEARING ON MOTIONS FOR PARTIAL SUMMARY JUDGMENT
 2          TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
 3          PLEASE TAKE NOTICE that on April 1, 2021, at 2:00 P.M., or as soon as thereafter as
 4   counsel may be heard, in Courtroom 19 of the Bankruptcy Court in the Northern District of California,
 5   located at 450 Golden Gate Avenue, 16th Floor, San Francisco, California 94102 before the
 6   Honorable Hannah L. Blumenstiel, Plaintiff Anthony S. Levandowski will and does hereby move for
 7   partial summary judgment:
 8
                  a) Motion For Partial Summary Judgment Based On Waymo Settlement
 9
                  b) Motion For Partial Summary Judgment As To Uber’s: (1) Fraud-Based
10                   Counterclaims And Defenses, And (2) Excluded Claim Defense

11                c) Motion For Partial Summary Judgment Based On Statute Of Limitations

12                d) Anthony Levandowski’s Motion For Partial Summary Judgment As To Rescission

13   The aforementioned motions are being filed concurrently herewith and will be based on the instant
14   notice, the motions themselves, the memorandum of points and authorities and the Omnibus
15   Declaration of Hong-An Vu in Support of Motions for Partial Summary Judgment.
16          Depending on then in-effect Covid-19 rules, the hearing may take place remotely. All
17   interested parties should consult the Bankruptcy Court’s website at www.canb.uscourts.gov for
18   information about court operations during the COVID-19 pandemic. The Bankruptcy Court’s website
19   provides information regarding how to arrange a telephonic or video appearance. If you have any
20   questions regarding how to appear at a court hearing, you may contact the Bankruptcy Court by
21   calling (888) 821-7606 or by using the Live Chat feature on the Bankruptcy Court’s website.
22

23    Dated: February 23, 2021                          Respectfully submitted,

24
                                                        By: /s/ Brett Schuman
25                                                          Brett Schuman (SBN 189247)
                                                            bschuman@goodwinlaw.com
26                                                          Rachel M. Walsh (SBN 250568)
                                                            rwalsh@goodwinlaw.com
27                                                          Hong-An Vu (SBN 266268)
                                                            hvu@goodwinlaw.com
28                                                          GOODWIN PROCTER LLP


 Case: 20-03050      Doc# 130     Filed: 02/24/21      1
                                                      Entered: 02/24/21 04:17:09       Page 2 of 3
 1                                                  Tobias S. Keller (SBN 151445)
                                                    tkeller@kbkllp.com
 2                                                  Dara L. Silveira (SBN 274923)
                                                    dsilveira@kbkllp.com
 3                                                  KELLER BENVENUTTI KIM LLP
 4
                                                    Attorneys for Plaintiff and Debtor and
 5                                                  Debtor in Possession Anthony S.
                                                    Levandowski
 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 Case: 20-03050   Doc# 130   Filed: 02/24/21    2
                                               Entered: 02/24/21 04:17:09     Page 3 of 3
